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MINUTE ENTRY
WILKINSON, M.J.
APRIL 14, 2014

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

JOHN AKINS ET AL. CIVIL ACTION

VERSUS NO. 12-2401

WORLEY CATASTROPHE MAGISTRATE JUDGE
RESPONSE, LLC ET AL. JOSEPH C. WILKINSON, JR.

At the oral request of counsel during a telephone conference this afternoon, the
Clerk is directed to remove Record Doc. No. 329 at p. 12 from the record and substitute
in its place a redacted version of that page, pursuant to the parties’ confidentiality provision

in the settlement agreement. The unredacted version of p. 12 is ordered filed under seal.

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JOSEPH C. WILKINSON, JR.
UNITED STATES MAGISTRATE JUDGE

 

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application, the total amount of fees requested when the reasonable number of hours

submitted is multiplied by their requested hourly rates is QM. F or the reasons set
out in the foregoing paragraph, I must reduce this number by $13,424.00 in connection with
Mitchell’s work. This lower amount of ae: is the lodestar amount, and it is less
than the 25 percent fee requested. Nothing has been submitted that would justify any
upward modifier increasing this lodestar amount, which is presumptively reasonable.
Accordingly, the court approves the payment of attorney’s fees to plaintiffs’ counsel from
the settlement amount in this case up to but not exceeding eam. which must be
distributed among counsel in compliance with their fee-sharing agreement, Exhibit F to the
proposed settlement agreement. The amount for attorney’s fees requested in the motion
papers that exceeds this approved amount must be added back into the common fund for
the benefit of and payable to plaintiffs participating in the settlement. Both the settlement
agreement and its Exhibit A reflecting the amounts of payments to be made to each
individual plaintiff must be adjusted accordingly.

The parties have agreed that a specified amount of the settlement funds shall be
allocated as costs, which the agreement specifically defines. The amount available to pay
costs is capped at a specific number, which is a reasonably low percentage of the total
settlement value. The agreement provides that any amount left in the costs fund after all
of the actual costs are paid will revert to the participating plaintiffs, to be allocated among
them according to the same percentages by which the main settlement fund will be

allocated. I find that the amount allocated for costs is fair and reasonable.

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